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                                                      THE HONORABLE JOHN C. COUGHENOUR
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                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9        UNITED STATES OF AMERICA,                       CASE NO. CR11-0120-JCC
10                            Plaintiff,                  MINUTE ORDER
11             v.

12        JACOB SAUL STUART,

13                            Defendant.
14

15            The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17            This matter comes before the Court on Defendant’s motion for reconsideration or, in the
18   alternative, renewed motion for compassionate release (Dkt. No. 1249). Defendant argues that
19   new facts and the Ninth Circuit’s decision in U.S. v. Aruda, 993 F.3d 797 (9th Cir. 2021),
20   warrant a reduction in sentence. (See generally id.) The Court views this filing to be a renewed
21   motion for compassionate release. The Clerk is DIRECTED to renote the motion to October 8,
22   2021. The Government’s response, if any, is due October 1, 2021. Defendant’s reply, if any, is
23   due October 8, 2021.
24   //
25   //
26   //


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 1         DATED this 23rd day of September 2021.
                                                    Ravi Subramanian
 2                                                  Clerk of Court
 3
                                                    s/Sandra Rawski
 4                                                  Deputy Clerk

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